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                         THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

SYMBOLOGY INNOVATIONS, LLC,
               Plaintiff,
       v.                                            CIVIL ACTION NO. 1:23-cv-1469
                                                                      ______________
ABBOTT LABORATORIES, INC.,
                                                     JURY TRIAL DEMANDED
               Defendants.




                                          COMPLAINT
       Plaintiff files this complaint for patent infringement of three (3) patents - U.S. Patent
Nos. 8,424,752 (hereinafter “the ’752 Patent”), 8,651,369 (hereinafter “the ’369 Patent”), and
8,936,190 (collectively “the Symbology Patents”). The ’752 Patent is attached as Exhibit 1, the
’369 Patent is attached as Exhibit 2, and the ’190 Patent is attached as Exhibit 3. 1 Plaintiff
alleges as follows:
                                            PARTIES
       1.      Plaintiff is a Texas limited liability company with an office at 1 East Broward
Boulevard, Suite 700, Ft. Lauderdale, FL 33301.




1
 Expiration Date for at least the majority of Patents-in-suit is no earlier than September 15,
2030.

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        2.      Defendant Abbott Laboratories, Inc. has offices located at 8701 Bee Cave Rd,
Austin, TX 78746, and other locations in this District. Defendant can be served through CT
Corporation System, 1999 Bryan St., Ste. 900, Dallas, TX 75201-3136.
                                              VENUE
        3.      Defendant has regular and established places of business in this District, including
over $6 million in equipment in Travis County alone.
        4.      On information and belief, Defendant has employees in this District. Defendant
has a Texas Filing No. 11842906 with the Texas Secretary of State.
        5.      On information and belief, Defendant sales, uses and manufactures infringing
accused instrumentalities in this district.
        6.      Adam Heller, a co-founder of TheraSense, which was acquired by Abbott in 2004
and is a professor emeritus in Chemical Engineering at The University of Texas at Austin.
https://che.utexas.edu/faculty-staff/faculty-directory/heller/
        7.      On information and belief, defendant has employees in this District with
information relevant to the accused products, infringement, and damages.
                                        PATENTS-IN-SUIT
        8.      Plaintiff is the sole and exclusive owner, by assignment, of U.S. Patent Nos.
8,424,752 (hereinafter “the ’752 Patent”), 8,651,369 (hereinafter “the ’369 Patent”), and

8,936,190 (collectively “the Symbology Patents”). The ’752 Patent is attached as Exhibit 1, the
’369 Patent is attached as Exhibit 2, and the ’190 Patent is attached as Exhibit 3.
        9.      The Symbology Patents are valid, enforceable, and were duly issued in full
compliance with Title 35 of the United States Code.
        10.     Plaintiff possesses all rights of recovery under the Symbology Patents, including
the exclusive right to recover for past, present and future infringement.
        11.     The inventor of the Symbology Patents, Mr. Leigh M. Rothschild, was Chairman
and Chief Executive Officer of IntraCorp Entertainment, Inc., a consumer software company
with worldwide product distribution. From October 1998 through February 2004, Mr. Rothschild


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was also Chairman and founder of BarPoint.com, a NASDAQ publicly traded wireless company
that was the leader and early creator of connecting symbology, such as barcodes, to the Internet.
       12.     Mr. Rothschild chairs the Rothschild Family Foundation, which endows
outstanding charities and institutions around the world.
       13.     The priority date of the ’369 Patent is at least as early September 15, 2010. As of
the priority date, the inventions as claimed were novel, non-obvious, unconventional, and non-
routine.
       14.     Plaintiff alleges infringement on the part of Defendant of the ’773 Patent.
       15.     The ’752 Patent contains twenty-eight claims including three independent claims
and twenty-five dependent claims.
       16.     The priority date of the ’752 Patent is at least as early September 15, 2010. As of
the priority date, the inventions as claimed were novel, non-obvious, unconventional, and non-
routine.
       17.     Plaintiff alleges infringement on the part of Defendant of the ’752 Patent.
       18.     The ’369 Patent contains twenty-eight claims including three independent claims
and twenty-five dependent claims.
       19.     The priority date of the ’369 Patent is at least as early September 15, 2010. As of
the priority date, the inventions as claimed were novel, non-obvious, unconventional, and non-

routine.
       20.     Plaintiff alleges infringement on the part of Defendant of the ’369 Patent.
       21.     The Symbology Patents teach a system and method for enabling a portable
electronic device to retrieve information about an object when the object’s symbology, e.g., a
barcode, is detected. See ’369 Patent, Abstract. According to one embodiment a method is
provided in which symbology associated with an object is detected and decoded to obtain a
decode string. Id. The decode string is sent to one or more visual detection applications for
processing, wherein the one or more visual detection applications reside on the portable




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electronic device, and receiving a first amount of information about the object from the one or
more visual detection applications. Id.
       22.     As noted, the claims of the Symbology Patents have a priority date at least as
early as September 15, 2010. The present invention allows for users to quickly and conveniently
obtain information about an object utilizing a portable electronic device that detects symbology
associated with the object. ’752 Patent, 1:55-60; 2:46-54. Using any applicable visual detection
device (e.g., a camera, scanner, or other device) on the portable electronic device, the user may
select an object by scanning or capturing an image of symbology (e.g., barcodes) associated with
the object. Id. The object may be an article of commerce, product, service, or any item associated
with various types of symbology. Id.
       23.     The system(s) and methods of the Symbology Patents include software and
hardware that do not operate in a conventional manner. For example, the software is tailored to
provide functionality to perform recited steps and the hardware (e.g., portable electronic device)
is configured (and/or programmed) to provide functionality recited throughout the claims of the
Symbology Patents.
       24.     The features recited in the claims in the Symbology Patents provide
improvements to conventional hardware and software systems and methods. The improvements
render the claimed inventions of the Symbology Patents non-generic in view of conventional

components.
       25.     The features and recitations in the claims of the Symbology Patents are not those
that would be well-understood, routine, or conventional to one of ordinary skill in the art at the
time of the invention.
       26.     The ’773 Patent was examined by Primary United States Patent Examiner Allyson
Trail. During the examination of the ’773 Patent, the United States Patent Examiner searched for
prior art in the following US Classifications: 235/375; 235/379; 705/80; 705/14.1; and 705/39.
       27.     After conducting a search for prior art during the examination of the ’773 Patent,
the United States Patent Examiner identified and cited the following as the most relevant prior


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art references found during the search: US 2007/0216226; US 2007/0291534; US 2008/0201310;
US 2009/0099961; US 2010/0280896; and US 2010/0280960.
         28.    After giving full proper credit to the prior art and having conducted a thorough
search for all relevant art and having fully considered the most relevant art known at the time, the
United States Patent Examiner allowed all of the claims of the Patents to issue. In so doing, it is
presumed that Examiner used her knowledge of the art when examining the claims. K/S Himpp
v. Hear-Wear Techs., LLC, 751 F.3d 1362, 1369 (Fed. Cir. 2014). It is further presumed that
Examiner Trail had experience in the field of the invention, and that the Examiner properly acted
in accordance with a person of ordinary skill. In re Sang Su Lee, 277 F.3d 1338, 1345 (Fed. Cir.
2002).
         29.    The claims of the Patents-in-Suit are novel and non-obvious, including over all
non-cited contemporaneous state of the art systems and methods, all of which would have been
known to a person of ordinary skill in the art, and which were therefore presumptively also
known and considered by Examiner Trail.
         30.    The claims of the ’753 Patent were all properly issued, and are valid and
enforceable for the respective terms of their statutory life through expiration, and are enforceable
for purposes of seeking damages for past infringement even post-expiration. See, e.g., Genetics
Institute, LLC v. Novartis Vaccines and Diagnostics, Inc., 655 F.3d 1291, 1299 (Fed. Cir. 2011)

(“[A]n expired patent is not viewed as having ‘never existed.’ Much to the contrary, a patent
does have value beyond its expiration date. For example, an expired patent may form the basis
of an action for past damages subject to the six-year limitation under 35 U.S.C. § 286”) (internal
citations omitted).
         31.    The ’752 Patent was examined by Primary United States Patent Examiner Allyson
Trail. During the examination of the ’752 Patent, the United States Patent Examiner searched for
prior art in the following US Classifications: 235/375; 235/379; 705/14.1; 705/39; and 705/80.
         32.    After conducting a search for prior art during the examination of the ’752 Patent,
the United States Patent Examiner identified and cited the following as the most relevant prior


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art references found during the search: US 7,992,773; US 2007/0216226; US 2007/0291534; US
2008/0201310; US 2009/0099961; US 2010/0280896; and US 2010/0280960.
       33.     After giving full proper credit to the prior art and having conducted a thorough
search for all relevant art and having fully considered the most relevant art known at the time, the
United States Patent Examiner allowed all of the claims of the ’752 Patent to issue. In so doing,
it is presumed that Examiner Trail used her knowledge of the art when examining the claims.
K/S Himpp v. Hear-Wear Techs., LLC, 751 F.3d 1362, 1369 (Fed. Cir. 2014). It is further
presumed that Examiner Trail had experience in the field of the invention, and that the Examiner
properly acted in accordance with a person of ordinary skill. In re Sang Su Lee, 277 F.3d 1338,
1345 (Fed. Cir. 2002). In view of the foregoing, the claims of the ’752 Patent are novel and non-
obvious, including over all non-cited art which is merely cumulative with the referenced and
cited prior art. Likewise, the claims of the ’752 Patent are novel and non-obvious, including
over all non-cited contemporaneous state of the art systems and methods, all of which would
have been known to a person of ordinary skill in the art, and which were therefore presumptively
also known and considered by Examiner Trail.
       34.     The claims of the ’752 Patent were all properly issued, and are valid and
enforceable for the respective terms of their statutory life through expiration, and are enforceable
for purposes of seeking damages for past infringement even post-expiration. See, e.g., Genetics

Institute, LLC v. Novartis Vaccines and Diagnostics, Inc., 655 F.3d 1291, 1299 (Fed. Cir. 2011)
(“[A]n expired patent is not viewed as having ‘never existed.’ Much to the contrary, a patent
does have value beyond its expiration date. For example, an expired patent may form the basis
of an action for past damages subject to the six-year limitation under 35 U.S.C. § 286”) (internal
citations omitted).
       35.     The ’369 Patent was examined by Primary United States Patent Examiner Allyson
Trail. During the examination of the ’369 Patent, the United States Patent Examiner searched for
prior art in the following US Classifications: 235/375; 235/379; 705/14.1; 709/39; and 709/80.




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       36.     After conducting a search for prior art during the examination of the ’369 Patent,
the United States Patent Examiner identified and cited the following as the most relevant prior
art references found during the search: US 2007/0216226; US 2007/0291534; US 2008/0201310;
US 2009/0099961; US 2010/0280896; and US 2010/0280960.
       37.     After giving full proper credit to the prior art and having conducted a thorough
search for all relevant art and having fully considered the most relevant art known at the time, the
United States Patent Examiner allowed all of the claims of the ’369 Patent to issue. In so doing,
it is presumed that Examiner used her knowledge of the art when examining the claims. K/S
Himpp v. Hear-Wear Techs., LLC, 751 F.3d 1362, 1369 (Fed. Cir. 2014). It is further presumed
that Examiner had experience in the field of the invention, and that the Examiner properly acted
in accordance with a person of ordinary skill. In re Sang Su Lee, 277 F.3d 1338, 1345 (Fed. Cir.
2002). In view of the foregoing, the claims of the ’369 Patent are novel and non-obvious,
including over all non-cited art which is merely cumulative with the referenced and cited prior
art. Likewise, the claims of the ’369 Patent are novel and non-obvious, including over all non-
cited contemporaneous state of the art systems and methods, all of which would have been
known to a person of ordinary skill in the art, and which were therefore presumptively also
known and considered by the Examiner.
       38.     The claims of the ’369 Patent were all properly issued, and are valid and

enforceable for the respective terms of their statutory life through expiration, and are enforceable
for purposes of seeking damages for past infringement even post-expiration. See, e.g., Genetics
Institute, LLC v. Novartis Vaccines and Diagnostics, Inc., 655 F.3d 1291, 1299 (Fed. Cir. 2011)
(“[A]n expired patent is not viewed as having ‘never existed.’ Much to the contrary, a patent
does have value beyond its expiration date. For example, an expired patent may form the basis
of an action for past damages subject to the six-year limitation under 35 U.S.C. § 286”) (internal
citations omitted).
       39.     The expiration date for the Patents-in-Suit is no earlier than September 15, 2030,
overall.


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                                 ACCUSED INSTRUMENTALITIES
        40.     Upon information and belief, Defendant use of QR codes for authenticity and/or
reward programs (the “Accused Instrumentalities”), and similar uses infringe at least Claim 1 of
the ’752 Patent, Claim 1 of the ’369 Patent, and Claim 1 of the ’190 Patent.




Figure        1       –      Screen      Shot          from        Abbott’s       website
https://alagangabbottrewards.com/about/family as last visited on November 30, 2023.



                                            COUNT ONE
                          (Infringement of United States Patent No. 8,424,752)
        41.     Plaintiff refers to and incorporates the allegations in Paragraphs above, the same
as if set forth herein.
        42.     This cause of action arises under the patent laws of the United States and, in
particular under 35 U.S.C. §§ 271, et seq.
        43.     Defendant has knowledge of its infringement of the ’752 Patent (Exhibit 1), at
least as of the service of the present complaint.




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       44.     Accordingly, Defendant has infringed and continues to infringe, the ’752 Patent in
violation of 35 U.S.C. § 271. Upon information and belief, Defendant has infringed and
continues to infringe one or more claims, including at least Claim 1, of the ’752 Patent by
making, using, importing, selling, and/or offering for sale (as identified in the Claim Chart
attached hereto as Exhibit 4) the Accused Instrumentalities.
       45.     Defendant also has and continues to directly infringe, literally or under the
doctrine of equivalents, one or more claims, including at least Claim 1, of the ’752 Patent, by
having its employees internally test and use the Accused Instrumentalities.
       46.     The service of this Complaint, in conjunction with the attached Claim Chart
(Exhibit F) and references cited, constitutes actual knowledge of infringement as alleged here.
       47.     Exhibit 4 includes at least one chart comparing the exemplary claim 1 of the ’752
Patent to the Accused Instrumentalities. As set forth in this chart, the Accused Instrumentalities
practice the technology claimed by the ’752 Patent. Accordingly, the Accused Instrumentalities
incorporated in this chart satisfy all elements of exemplary claim 1 of the ’752 Patent.
       48.     Plaintiff therefore incorporates by reference in its allegations herein the claim
chart of Exhibit 4.
       49.     The ’752 Patent is valid, enforceable, and was duly issued in full compliance with
Title 35 of the United States Code.

       50.     By engaging in the conduct described herein, Defendant has injured Plaintiff and
is liable for infringement of the ’752 Patent, pursuant to 35 U.S.C. § 271.
       51.     Defendant has committed these acts of literal infringement, or infringement under
the doctrine of equivalents of the ’752 Patent, without license or authorization.
       52.     As a result of Defendant’s infringement of the ’752 Patent, injured Plaintiff has
suffered monetary damages and is entitled to a monetary judgment in an amount adequate to
compensate for Defendant’s past infringement, together with interests and costs.
       53.     Plaintiff is in compliance with 35 U.S.C. § 287.




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        54.     As such, Plaintiff is entitled to compensation for any continuing and/or future
infringement of the ’752 Patent up until the date that Defendant ceases its infringing activities.
                                            COUNT TWO
                          (Infringement of United States Patent No. 8,651,369)
        55.     Plaintiff refers to and incorporates the allegations in Paragraphs above, the same
as if set forth herein.
        56.     This cause of action arises under the patent laws of the United States and, in
particular under 35 U.S.C. §§ 271, et seq.
        57.     Defendant has knowledge of its infringement of the ’369 Patent (Exhibit 2), at
least as of the service of the present complaint.
        58.     Accordingly, Defendant has infringed and continues to infringe, the ’369 Patent in
violation of 35 U.S.C. § 271. Upon information and belief, Defendant has infringed and
continues to infringe one or more claims, including at least Claim 1, of the ’369 Patent by
making, using, importing, selling, and/or offering for sale (as identified in the Claim Chart
attached hereto as Exhibit 5) the Accused Instrumentalities.
        59.     Defendant also has and continues to directly infringe, literally or under the
doctrine of equivalents, one or more claims, including at least Claim 1, of the ’369 Patent, by
having its employees internally test and use the Accused Instrumentalities.

        60.     The service of this Complaint, in conjunction with the attached Claim Chart
(Exhibit G) and references cited, constitutes actual knowledge of infringement as alleged here.
        61.     Exhibit 5 includes at least one chart comparing the exemplary claim 1 of the ’369
Patent to the Accused Instrumentalities. As set forth in this chart, the Accused Instrumentalities
practice the technology claimed by the ’369 Patent. Accordingly, the Accused Instrumentalities
incorporated in this chart satisfy all elements of exemplary claim 1 of the ’369 Patent.
        62.     Plaintiff therefore incorporates by reference in its allegations herein the claim
chart of Exhibit 5.




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        63.     Plaintiff is entitled to recover damages adequate to compensate for Defendant’s
infringement.
        64.     The ’369 Patent is valid, enforceable, and was duly issued in full compliance with
Title 35 of the United States Code.
        65.     By engaging in the conduct described herein, Defendant has injured Plaintiff and
is liable for infringement of the ’369 Patent, pursuant to 35 U.S.C. § 271.
        66.     Defendant has committed these acts of literal infringement, or infringement under
the doctrine of equivalents of the ’369 Patent, without license or authorization.
        67.     As a result of Defendant’s infringement of the ’369 Patent, injured Plaintiff has
suffered monetary damages and is entitled to a monetary judgment in an amount adequate to
compensate for Defendant’s past infringement, together with interests and costs.
        68.     Plaintiff is in compliance with 35 U.S.C. § 287.
        69.     As such, Plaintiff is entitled to compensation for any continuing and/or future
infringement of the ’369 Patent up until the date that Defendant ceases its infringing activities.
                                           COUNT THREE
                          (Infringement of United States Patent No. 8,936,190)
        70.     Plaintiff refers to and incorporates the allegations in Paragraphs above, the same
as if set forth herein.

        71.     This cause of action arises under the patent laws of the United States and, in
particular under 35 U.S.C. §§ 271, et seq.
        72.     Defendant has knowledge of its infringement of the ’190 Patent (Exhibit 3), at
least as of the service of the present complaint.
        73.     Accordingly, Defendant has infringed and continues to infringe, the ’190 Patent in
violation of 35 U.S.C. § 271. Upon information and belief, Defendant has infringed and
continues to infringe one or more claims, including at least Claim 1, of the ’190 Patent by
making, using, importing, selling, and/or offering for sale (as identified in the Claim Chart
attached hereto as Exhibit 6) the Accused Instrumentalities.


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       74.      Defendant also has and continues to directly infringe, literally or under the
doctrine of equivalents, one or more claims, including at least Claim 1, of the ’190 Patent, by
having its employees internally test and use the Accused Instrumentalities.
       75.      The service of this Complaint, in conjunction with the attached Claim Chart
(Exhibit 6) and references cited, constitutes actual knowledge of infringement as alleged here.
       76.      Exhibit 6 includes at least one chart comparing the exemplary claim 1 of the ’190
Patent to the Accused Instrumentalities. As set forth in this chart, the Accused Instrumentalities
practice the technology claimed by the ’190 Patent. Accordingly, the Accused Instrumentalities
incorporated in this chart satisfy all elements of exemplary claim 1 of the ’190 Patent.
       77.      Plaintiff therefore incorporates by reference in its allegations herein the claim
chart of Exhibit 6.
       78.      Plaintiff is entitled to recover damages adequate to compensate for Defendant’s
infringement.
       79.      Defendant’s actions complained of herein will continue unless Defendant is
enjoined by this Court.
       80.      The ’190 Patent is valid, enforceable, and was duly issued in full compliance with
Title 35 of the United States Code.
       81.      By engaging in the conduct described herein, Defendant has injured Plaintiff and

is liable for infringement of the ’190 Patent, pursuant to 35 U.S.C. § 271.
       82.      Defendant has committed these acts of literal infringement, or infringement under
the doctrine of equivalents of the ’190 Patent, without license or authorization.
       83.      As a result of Defendant’s infringement of the ’190 Patent, injured Plaintiff has
suffered monetary damages and is entitled to a monetary judgment in an amount adequate to
compensate for Defendant’s past infringement, together with interests and costs.
       84.      Plaintiff is in compliance with 35 U.S.C. § 287.
       85.      As such, Plaintiff is entitled to compensation for any continuing and/or future
infringement of the ’190 Patent up until the date that Defendant ceases its infringing activities.


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                                  DEMAND FOR JURY TRIAL
        86.     Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by
jury of any issues so triable by right.
                                      PRAYER FOR RELIEF
        WHEREFORE, Plaintiff asks the Court to:
        (a) Enter judgment for Plaintiff on this Complaint on all cases of action asserted herein;
        (b) Enter an Order enjoining Defendant, its agents, officers, servants, employees,
attorneys, and all persons in active concert or participation with Defendant who receives notice
of the order from further infringement of Symbology Patents (or, in the alternative, awarding
Plaintiff running royalty from the time judgment going forward);
        (c) Award Plaintiff damages resulting from Defendants infringement in accordance with
35 U.S.C. § 284;
        (d) Award Plaintiff such further relief to which the Court finds Plaintiff entitled under
law or equity; including treble damages for willful infringement, if alleged.


Dated: December 4, 2023                               Respectfully Submitted,

                                                      /s/ Randall Garteiser
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                                                      COUNSEL FOR PLAINTIFF



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